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                                                              Tuesday, 24 September, 2019 10:31:05 AM
                                                                           Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

EQUAL EMPLOYMENT OPPORTUNITY                       )
COMMISSION,                                        )
                                                   )
             Plaintiff,                            )
                                                   )
     vs.                                           )      Case No. 2:18-cv-2212
                                                   )
URBANA SCHOOL DISTRICT NO. 116,                    )
                                                   )
             Defendant,                            )
                                                   )
     and                                           )
                                                   )
URBANA EDUCATION ASSOCIATION,                      )
IEA-NEA,                                           )
                                                   )
             Rule 19 Defendant                     )

                          ANSWER and AFFIRMATIVE DEFENSES
                          OF URBANA SCHOOL DISTRICT NO. 116


  1. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337, 1343 and
     1345. This action is authorized and instituted pursuant to Section 7(b) of the Age
     Discrimination in Employment Act of 1967, as amended, 29 U.S.C. 626(b) (the
     “ADEA”), which incorporates by reference Section 16(c) and Section 17 of the Fair
     Labor Standards Act of 1938 (the “FLSA”), as amended, 29 U.S.C. §§216(c) and 217.
  ANSWER:
     The School District admits that the EEOC invokes jurisdiction as set forth in
  Paragraph 1.
  2. The employment practices alleged to be unlawful were and are now being coming
     committed within the jurisdiction of the United States District Court for the Central
     District of Illinois, Urbana Division.
  ANSWER:
     The School District admits that the conduct alleged in Plaintiff’s Complaint
  occurred within the jurisdiction of the United States District Court for the Central
  District of Illinois, Urbana Division, but denies any unlawful employment practices.

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3. Plaintiff, the Equal Employment Opportunity Commission (the “Commission”), is the
   agency of the United States of America charged with the administration, interpretation
   and enforcement of the ADEA and is expressly authorized to bring this action by Section
   7(b) of the ADEA, 29 U.S.C. §626(b), as amended by Section 2 of the Reorganization
   Plan No. 1 of 1978, 92 Stat. 3781, and by Public Law 98-532 (1984), 98 Stat. 2705.
ANSWER:
   The School District admits the allegations in Paragraph 3.
4. At all relevant time, Defendant, Urbana School District no. 116 (“Urbana School
   District”), has continuously been a local government agency of the City of Urbana.
ANSWER:
    The School District admits it is located in Urbana, Illinois. The School District
denies it is a local government agency of the City of Urbana, and affirmatively states it
is a school district established under the laws of the State of Illinois.
5. At all relevant times, Defendant Urbana School District has continuously been an
   employer within the meaning of Section 119b) of the ADEA, 29 U.S.C. §630(b).
ANSWER:
   The School District admits the allegations in Paragraph 5.
6. Defendant, the Urbana Education Association, IEA-NEA (“the Union”), is a party to a
   collective bargaining agreement with the Defendant Urbana School District and is
   therefore named as a party pursuant to Rule 19(a) of the Federal Rules of Civil Procedure
   in that, in its absence, complete relief cannot be accorded among those already parties.
ANSWER:
    The School District admits the Urbana Education Association, IEA-NEA is a party
to a collective bargaining agreement with the Board of Education of Urbana School
District #116. The School District lacks sufficient knowledge to admit or deny the
factual allegations and legal conclusions set forth in Paragraph 6.
7. Prior to institution of this lawsuit, the Commission’s representatives attempted to
   eliminate the unlawful employment practices alleged below and to effect voluntary
   compliance with the ADEA through informal methods of conciliation, conference and
   persuasion within the meaning of Section 7(b) of the ADEA, 29 U.S.C. §626(b).
ANSWER:
   The School District denies it committed any unlawful employment practices, and
admits the remaining allegations in Paragraph 7.
8. Since at least 2012, Defendant Urbana School District has engaged in unlawful
   employment practices in violation of Section 4 of the ADEA, 29 U.S.C. §623(a)(1)15, by

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       discriminating against Charles Koplinski and a class of teachers over the age of 45 with
       respect to their compensation because of their age.
   ANSWER:
       The School District denies the allegations in Paragraph 8.
   9. More specifically, Urbana School District has limited the salary increases of Koplinski
      and other teachers over the age of 45 pursuant to Article 21, Section 12 of the collective
      bargaining agreement (CBA) between the Urbana School District and the Union, which
      limits earnings increases of teachers who are less than ten years from retirement
      eligibility to no more than six percent of their prior year’s total reportable creditable
      earnings. Article 21, Section 12 provides:

              Notwithstanding any of the other provisions of this agreement, no teacher who is
              less than ten (10) years from retirement eligibility may receive an overall increase
              in total reportable creditable earnings in excess of six percent (6%) of the
              previous year’s total reportable creditable earnings, unless the payment causing
              the teach[er] to exceed the six percent (6%) salary threshold is specifically exempt
              by statement or regulation from the payment of any penalty of other monies
              constituting a surcharge to the Teachers’ Retirement System. Should the Illinois
              General Assembly or the Teachers’ Retirement System impose a salary threshold
              of greater or lesser than the six percent (6%) threshold thereby causing the
              payment of any penalty or other monies constituting a surcharge to TRS, then this
              agreement shall automatically incorporate this new threshold upon its effective
              date.

              Retirement Eligibility is based on a combination of age and years of service.
              Article 21, Section 12, violates the ADEA by limiting pay increases because of
              age.
ANSWER:
        The School District admits that the language set forth in Paragraph 9 exists in the
collective bargaining agreement between the UEA and the Board of Education of Urbana
School District #116, and further asserts the language speaks for itself. The School District
admits that the salary of Koplinski and some other teachers were limited to a six percent
increase over their respective creditable earnings of the prior school year based on
retirement eligibility. The School District admits that retirement eligibility is based on a
combination of age and years of service, and denies the remaining allegations set forth in
Paragraph 9.
   10. Koplinski was born in 1965. He was hired in 1991 at the Urbana Middle School, where
       he teaches eighth grade language arts. In 2008, Koplinski obtained his Master’s degree.
ANSWER:

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      The School District admits the allegations in Paragraph 10.
   11. During the 2014-15 school year, Koplinski was at MA+30, Step 24 on the salary
       schedule applicable to Urbana School District teachers.
ANSWER:
      The School District admits the allegations in Paragraph 11.
   12. Prior to the 2015-16 school year, Koplinski obtained sufficient post-Master’s education
       credits so that he moved from MA +30, Step 24 on the salary schedule, to MA +6-, Step
       25, for the 2015-16 school year. The classes and seminars that Koplinski took to move
       from MA +30 to MA +60 had to be approved by the School District.
ANSWER:
      The School District admits the allegations in Paragraph 12.
   13. According to the 2015-16 Salary Schedule, the salary for a teacher at MA +60, Step 25 is
       $77, 242. Because of Article 21.12, Koplinski’s salary for the 2015-16 school year was
       $73,880.94.
ANSWER:
      The School District admits the allegations in Paragraph 13.
   14. If Koplinski’s years of teaching service and placement on the salary schedule remained
       the same, but Koplinski were age 44 during the 2015-16 school year instead of age 50,
       his salary would have been $77,242.
ANSWER:
      The School District admits the allegations in Paragraph 14.
   15. For the 2016-17 school year, Koplinski was at MA +60, Step 26 on the 2016-17 Salary
       Schedule. According to the 2016-[1]7, the salary for a teacher at MA +60, Step 26, is
       $79,945. Because of Article 21.12, Koplinski’s salary for the 2016-17 school year was
       $78,313.80.
ANSWER:
       The School District admits the allegations in Paragraph 15, assuming a corrected
date of “2017” for “2027.”
   16. If Koplinski’s years of teaching service and placement on the salary schedule remained
       the same, but Koplinski were age 44 during the 2016-17 school year instead of age 51,
       his salary would have been $79,945.
ANSWER:
      The School District admits the allegations in Paragraph 16.

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   17. Koplinski applied to teach summer school during the summer of 2018, but his request
       was denied, because the stipend he would have received would have caused his total
       reportable creditable earnings to exceed his prior year’s total reportable creditable
       earnings by more than six percent.
ANSWER:
        The School District admits Koplinski applied to teach summer school during the
summer of 2018. The School District admits that the summer school stipend he would have
received would have caused his total reportable creditable earnings to exceed his prior
year’s total reportable creditable earnings by more than six percent. The School District
lacks knowledge or information sufficient to form a belief as to the truth of the remaining
allegations in Paragraph 17, and therefore denies same.
   18. The effect of the practices complained of in paragraphs 8-17 above has been to deprive
       Koplinski and a class of teachers over the age of 45 of equal employment opportunities
       and otherwise adversely affect their status as employees, because of their age.
ANSWER:
      The School District denies the factual allegations and legal conclusions set forth in
Paragraph 18.
   19. The unlawful employment practices complained of in Paragraphs 8-17 above were and
       are willful within the meaning of Section 7(b) of the ADEA, 29 U.S.C. §626(b).
ANSWER:
      The School District denies the factual allegations and legal conclusions set forth in
Paragraph 19.
                                  AFFIRMATIVE DEFENSES
       NOW COMES the Board of Education of Urbana School District #116, by and through
its attorneys, Dennis L. Weedman and Susan E. Nicholas of Robbins, Schwartz, Nicholas, Lifton
& Taylor, Ltd., and for its affirmative defenses, states:
                                AFFIRMATIVE DEFENSE ONE
   1. That the pension status, specifically retirement eligibility, of Koplinski and other
      similarly-situated teachers, and the avoidance of pension surcharges were the motivating
      factor in the decision to limit salary increases at six percent of the previous year’s
      creditable earnings.
   2. Retirement eligibility is determined using both age and years of service, and the salary
      limitation was implemented in order to avoid a surcharge by the Illinois Teachers’
      Retirement System.
   3. Plaintiff cannot establish “but-for” causation required to establish a violation of the Age
      Discrimination in Employment Act.
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                                AFFIRMATIVE DEFENSE TWO
   1. The Illinois Pension Code defines the terms for eligibility to retire, combining both age
      and years of service.
   2. The Illinois Pension Code defines a threshold of six percent for increases in creditable
      earnings in the final average salary of an employee.
   3. The Illinois Pension Code imposes a significant penalty, or surcharge, to school district
      employers who exceed the six percent threshold in the final average salary of an
      employee.
   4. The final average salary is the highest four consecutive years within the last ten years of
      creditable service. 40 ILCS 5/16-133(b).
   5. The language in the collective bargaining is intended to avoid a surcharge for salary
      increases in excess of six percent under the Illinois Pension Code.
   6. This reasoning constitutes a reasonable factor other than age, thereby negating liability
      under the Age Discrimination in Employment Act.
Defendant demands a trial by jury.

                                                    URBANA SCHOOL DISTRICT NO. 116

                                                    /s/ Susan E. Nicholas__________
                                                      Susan E. Nicholas

Dennis L. Weedman ARDC# 6217120
ROBBINS SCHWARTZ NICHOLAS
 LIFTON & TAYLOR, LTD.
510 Regency Centre
Collinsville IL 62234
Telephone : (618)343-3540
dweedman@robbins-schwartz.com


Susan E. Nicholas ARDC# 6278132
ROBBINS SCHWARTZ NICHOLAS
 LIFTON & TAYLOR, LTD.
301 N. Neil Street, Suite 400
Champaign IL 61820
Telephone : (217) 363-3040
snicholas@robbins-schwartz.com




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                  CERTIFICATE OF SERVICE BY ELECTRONIC MAILING

I hereby certify that I electronically filed the foregoing ANSWER AND AFFIRMATIVE
DEFENSES with the Clerk of the Court using the CM/ECF SYSTEM on this 24th day of
September, 2019, which constitutes service on below counsel, registered filing users, pursuant to
Fed. R. Civ. P. 5(b)(2)(D):

Ann M. Henry                                                Attorneys for Plaintiff
U.S. Equal Employment Opportunity Commission
ann.henry@eeoc.gov


Ethan M. M. Cohen
U.S. Equal Employment Opportunity Commission
ethan.cohen@eeoc.gov



Michael H. Slutsky                                          Attorneys for Rule 19 Defendant
Allison, Slutsky & Kennedy, PC
slutsky@ask-attorneys.com

Ryan Matthew Thoma
Allison, Slutsky & Kennedy, PC
thoma@ask-attorneys.com


                                                    s/ Susan E. Nicholas________
                                                    Susan E. Nicholas #6278132
                                                    Robbins, Schwartz, Nicholas,
                                                           Lifton & Taylor, Ltd.
                                                    301 N. Neil Street, Suite 400
                                                    Champaign IL 61820
                                                    Telephone: 217.363.3040
                                                    Fax: 217.345.3548
                                                    Email: snicholas@robbins-schwartz.com




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